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Attorney No.: 39611




               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                    CIVIL DEPARTMENT, CHANCERY DIVISION

LAWRENCE A. BRADI,                                )
                                                  )
        Plaintiff,                                )
                                                  )
                v.                                )          Case No.: 2014-CH-10137
                                                  )
55 EAST WASHINGTON DEVELOPMENT, LLC, )                       Honorable David B. Atkins
an Illinois limited liability company; BACCHUS I, )
INC., an Illinois corporation; RICHARD GATTO;     )          Calendar 16
and SALVATORE GALIOTO,                            )
                                                  )
        Defendants.                               )

                         MOTION TO WITHDRAW AS COUNSEL

       NOW COME the attorneys and the law firm of PERL & GOODSNYDER, LTD. (hereinafter

collectively referred to as “Defendants’ Counsel”), and respectfully move this Honorable Court

pursuant to Illinois Supreme Court Rule 13(c)(2) and Illinois Rules of Professional Conduct 1.7 to

withdraw their appearance filed on behalf of Defendants, 55 EAST WASHINGTON DEVELOPMENT

LLC, an Illinois limited liability company; BACCHUS I, INC., an Illinois corporation; RICHARD

GATTO, an individual; and SALVATORE GALIOTO (hereinafter collectively referred to as

“Defendants”), in the case sub judice. In support thereof, PERL & GOODSNYDER, LTD. states as

follows:

       1.      On or about October 8, 2014, Defendants’ Counsel filed their Appearance as

attorneys of record on behalf of 55 EAST WASHINGTON DEVELOPMENT LLC, an Illinois limited

liability company; BACCHUS I, INC., an Illinois corporation; SALVATORE GALIOTO, an individual;

and ANGELA GALIOTO, an individual, in the above-entitled cause of action.

       2.      On or about November 21, 2014, Defendants’ Counsel filed their Appearance as

attorneys of record on behalf of RICHARD GATTO, an individual, and ANITA GATTO, an individual,
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in the above-entitled cause of action.

       3.      Since appearing in the case at bar, Defendants’ Counsel acted diligently to defend

the case and/or attempt to resolve the matter.

       4.      Pursuant to the Illinois Rules of Professional Conduct 1.7, Defendants’ Counsel can

no longer represent the Defendants in this matter.

       5.      Since the time Defendants’ Counsel initially filed their Appearance, a potential

conflict of interest may have arisen which may preclude Defendants’ Counsel from representing

the Defendants in this matter further.

       6.      Although Defendants have not been prejudiced as the potential conflict has only

recently arisen, Defendants’ Counsel wishes to withdraw in order to avoid any potential conflict.

       7.      Defendant, 55 EAST WASHINGTON DEVELOPMENT LLC’s last known address is

5500 West Howard Street in Skokie, Illinois 60077.

       8.      Defendant, BACCHUS I, INC.’s last known address is 55 East Washington Street in

Chicago, Illinois.

       9.      The last known address of Defendant, RICHARD GATTO, is 1805 Midwest Club

Parkway, Oak Brook, Illinois 60523.

       10.     On or about May 20, 2016, this Court dismissed ANGELA GALIOTO, an individual,

and ANITA GATTO, an individual, from this case, so they are no longer parties to this action.

       11.     Defendants were served with a copy of this motion and a notice of motion, in

accordance with Illinois Supreme Court Rule 13(c)(2).

       12.     Pursuant to Supreme Court Rule 13(c)(2), Defendants should be granted twenty-

one (21) days from the entry of an order granting Defendants’ Counsel’s leave to withdraw to find

replacement counsel and all pending matters herein should be entered and continued until such

time that Defendants have obtained substitute counsel to appear on Defendants’ behalf.

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       WHEREFORE, the attorneys and the law firm of PERL & GOODSNYDER, LTD. (heretofore

collectively referred to as “Defendants’ Counsel”), respectfully pray that this Honorable Court

enters an order granting their Motion to Withdraw as Counsel for Defendants, 55 EAST

WASHINGTON DEVELOPMENT LLC, an Illinois limited liability company; BACCHUS I, INC., an

Illinois corporation; RICHARD GATTO, an individual; and SALVATORE GALIOTO (heretofore referred

to collectively as “Defendants”), grant Defendants twenty-one (21) days from the entry of an order

granting Defendants’ Counsel leave to withdraw to find replacement counsel and stay all pending

matters herein until such time that Defendants have obtained substitute counsel to appear on

Defendants’ behalf, and for such other, further, different and/or additional relief that this

Honorable Court deems fair, reasonable and just.

                                             Respectfully submitted by:

                                             Counsel of Record for Defendants:

                                             55 EAST WASHINGTON DEVELOPMENT LLC
                                             BACCHUS I, INC.
                                             RICHARD GATTO
                                             SALVATORE GALIOTO



                                             ____________________________________
                                             Vlad V. Chirica
                                             PERL & GOODSNYDER, LTD.


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